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                            THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

  SPIRE GLOBAL, INC.,

                   Plaintiff,                                     No. 1:25-cv-00168-GBW

             v.

  KPLER HOLDING SA,

                   Defendant.

      [PROPOSED] ORDER GRANTING PLAINTIFF KPLER HOLDING SA’S
 MOTION FOR EXEMPTION OF PERSONS FROM THE DISTRICT OF DELAWARE’S
          MAY 17, 2024 STANDING ORDER ON PERSONAL DEVICES

        The Court having considered defendant Kpler Holding SA’s (“Kpler”) Motion for

 Exemption of Persons From The District Of Delaware’s May 17, 2024 Standing Order On Personal

 Devices For Courtroom Technology Setup and Trial (the “Motion”),

        IT IS SO ORDERED this _________ day of __________________, 2025 that:

        1.        The Motion is GRANTED;

        2.        For purposes of the February 26, 2025 hearing in this case, the following persons

 are exempt from the District of Delaware’s May 17, 2024 Standing Order and shall be permitted

 to retain and use their personal electronic devices:

                     •    Steven A. Cohen, counsel to Kpler

                     •    Kevin S. Schwartz, counsel to Kpler

                     •    Graham W. Meli, counsel to Kpler

        3.        Such persons listed in Paragraph 2 above shall present this Order, along with a valid

 photographic I.D., to the United States Marshalls upon entry to the J. Caleb Boggs Federal Build-

 ing and United States Courthouse.
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    Dated: February _______, 2025
                                                The Honorable Gregory B. Williams
                                                United States District Judge




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